99 F.3d 1129
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Bernard BAGLEY, Petitioner-Appellant,v.STATE of South Carolina;  Robert Ward, Warden of the EvansCorrectional Institution;  William Gunn, Director of SouthCarolina Department of Probation, Parole and PardonServices, Respondents-Appellees.
    No. 96-6436.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Oct. 17, 1996.Decided:  Oct. 24, 1996.
    
      Bernard Bagley, Appellant Pro Se.
      D.S.C.
      DISMISSED.
      Before MURNAGHAN and WILLIAMS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order directing service upon the Respondents.  We dismiss the appeal for lack of jurisdiction because the order is not appealable.  This court may exercise jurisdiction only over final orders, 28 U.S.C. § 1291 (1994), and certain interlocutory and collateral orders, 28 U.S.C. § 1292 (1994);  Fed.R.Civ.P. 54(b);   Cohen v. Beneficial Indus.  Loan Corp., 337 U.S. 541 (1949).  The order here appealed is neither a final order nor an appealable interlocutory or collateral order.
    
    
      2
      We dismiss the appeal as interlocutory.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      3
      DISMISSED.
    
    